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                            UNITED STATES DISTIRCT COURT
                            NORTHERN DISTRICT OF GEORGIA


PATRICIA KENNEDY,

               Plaintiff,

v.                                                      Case No:

PINE TREE LODGE, LLC., d/b/a,
BUDGETEL ATLANTA,

            Defendant,
___________________________________/


                                          COMPLAINT
                                   (Injunctive Relief Demanded)

        Plaintiff, PATRICIA KENNEDY, Individually, on her behalf and on behalf of all other

 individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendant,

 THE PINE STREET LODGE LLC, dba BUDGETEL ATLANTA, (sometimes referred to as

 “Defendant”), for Injunctive Relief, and attorney’s fees, litigation expenses, and costs pursuant

 to the Americans with Disabilities Act, 42 U.S.C.§ 12181 et seq. (“ADA”).

 1.             Plaintiff is a resident of Broward County, Florida, is sui juris, and qualifies as an

                individual with disabilities as defined by the ADA. Plaintiff is unable to engage in

                the major life activity of walking more than a few steps without assistive devices.

                Instead, Plaintiff is bound to ambulate in a wheelchair or with a cane or other support

                and has limited use of her hands. She is unable to tightly grasp, pinch and twist of

                the wrist to operate. When ambulating beyond the comfort of her own home,

                Plaintiff must primarily rely on a wheelchair. Plaintiff requires accessible handicap

                parking spaces located closest to the entrances of a facility. The handicap and access

                aisles must be of sufficient width so that she can embark and disembark from a

                ramp into her vehicle. Routes connecting the handicap spaces and all features,
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       goods and services of a facility must be level, properly sloped, sufficiently wide

       and without cracks, holes or other hazards that can pose a danger of tipping,

       catching wheels or falling. These areas must be free of obstructions or unsecured

       carpeting that make passage either more difficult or impossible. Amenities must be

       sufficiently lowered so that Plaintiff can reach them. She has difficulty operating

       door knobs, sink faucets, or other operating mechanisms that tight grasping, twisting

       of the wrist or pinching. She is hesitant to use sinks that have unwrapped pipes, as

       such pose a danger of scraping or burning her legs. Sinks must be at the proper

       height so that she can put her legs underneath to wash her hands. She requires

       grab bars both behind and beside a commode so that she can safely transfer and

       she has difficulty reaching the flush control if it is on the wrong side. She has

       difficulty getting through doorways if they lack the proper clearance.

2.     For many years, Plaintiff h a s f r e q u e n t l y t r a v e l e d t h r o u g h o u t

       Florida and Georgia and intends to continue doing so in the

       future.

3.      Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

       "tester" for the purpose of asserting her civil rights and monitoring, ensuring, and

       determining whether places of public accommodation and their websites are in

       compliance with the ADA.

4.     According to the county property records, Defendant owns a place of public

       accommodation as defined by the ADA and the regulations implementing the ADA,

       28 CFR 36.201(a) and 36.104. The place of public accommodation that the

       Defendant owns is a place of lodging known as Budgetel Inn & Suites, and

       is located at 140 Pine Street NE, Atlanta, in the County of Fulton, Georgia

       (hereinafter "Property").
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5.     Venue is properly located in the Northern District o f G e o r g i a because venue lies

       in the judicial district of the property situs. The Defendant’s property is located

       in and does business within this judicial district.

6.     Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

       original jurisdiction over actions which arise from the Defendant’s violations of Title

       III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28

       U.S.C. § 2201 and § 2202.

7.     As the owner of the subject place of lodging, Defendant is required to comply with

       the ADA. As such, Defendant is required to ensure that its place of lodging is in

       compliance with the standards applicable to places of public accommodation, as set

       forth in the regulations promulgated by the Department Of Justice. Said regulations

       are set forth in the Code Of Federal Regulations, the Americans With Disabilities

       Act Architectural Guidelines ("ADAAGs"), and the 2010 ADA Standards,

       incorporated by reference into the ADA. These regulations impose requirements

       pertaining to places of public accommodation, including places of lodging, to ensure

       that they are accessible to disabled individuals.

8.     More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

       requirements:

       Reservations made by places of lodging. A public accommodation that owns,
       leases (or leases to), or operates a place of lodging shall, with respect to
       reservations made by any means, including by telephone, in-person, or through
       a third party -
               (i) Modify its policies, practices, or procedures to ensure that individuals
               with disabilities can make reservations for accessible guest rooms during
               the same hours and in the same manner as individuals who do not need
               accessible rooms;
               (ii) Identify and describe accessible features in the hotels and guest
               rooms offered through its reservations service in enough detail to
               reasonably permit individuals with disabilities to assess independently
               whether a given hotel or guest room meets his or her accessibility needs;
               (iii) Ensure that accessible guest rooms are held for use by individuals
               with disabilities until all other guest rooms of that type have been rented
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               and the accessible room requested is the only remaining room of that type;
               (iv) Reserve, upon request, accessible guest rooms or specific types of
               guest rooms and ensure that the guest rooms requested are blocked and
               removed from all reservations systems; and
               (v) Guarantee that the specific accessible guest room reserved through
               its reservations service is held for the reserving customer, regardless of
               whether a specific room is held in response to reservations made by
               others.

9.      These regulations became effective March 15, 2012.

10.     Defendant, either itself or by and through a third party, implemented, operates,

        controls and or maintains a website for the Property which contains an online

        reservations system. The website is located at: https://www.budgetel.com/hotel-

        details/ab-atlanta-ga. This term also includes all websites owned and operated by

        Defendant or by third parties to book or reserve guest accommodations at the

        hotel: https://in.hotels.com/ho223284/?pa=1&q-check-out=2019-08-

        13&tab=description&q-room-0-adults=2&YGF=14&q-check-in=2019-08-12,

        https://www.expedia.com/Atlanta-Hotels-Budgetel-Inn-Suites.h1107351.Hotel-

        Information, and https://www.agoda.com/budgetel-inn-suites-atlanta-

        midtown/hotel/atlanta-ga-us.html?cid=-218. The purpose of these websites are so

        that members of the public may reserve guest accommodations and review

        information pertaining to the goods, services, features, facilities, benefits,

        advantages, and accommodations of the Property. As such, this website is subject

        to the requirements of 28 C.F.R. Section 36.302(e).

11.     Prior to the commencement of this lawsuit, specifically on July 28, 2019, August

        3, 2019, August, 4, 2019, August 6, 2019, August 12, 2019, August 17, 2019,

        August 22, 2019, August 24, 2019, August 26, 2019, August 31, 2019, October

        27, 2019, April 4, 2020, April 5, 2020, and April 6, 2020, Plaintiff visited the

        websites for the purpose of reviewing and assessing the accessible features at the

        Property and ascertain whether they meet the requirements of 28 C.F.R. Section
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        36.302(e) and her accessibility needs. However, Plaintiff was unable to do so

        because Defendant failed to comply with the requirements set forth in 28 C.F.R.

        Section 36.302(e). As a result, Plaintiff was deprived the same goods, services,

        features, facilities, benefits, advantages, and accommodations of the Property

        available to the general public. More specifically:

12.     The hotel’s own website located at: https://www.budgetel.com/hotel-details/ab-

        atlanta-ga had no option to book an accessible room. The hotel’s website and

        third party booking sites say that the hotel claims to have free parking, vending

        machine, and that there is no information as to whether any or all of these hotel

        features are accessible.

13.     The third party booking site located at: https://in.hotels.com/ho223284/?pa=1&q-

        check-out=2019-08-13&tab=description&q-room-0-adults=2&YGF=14&q-

        check-in=2019-08-12: did not have an option to book an accessible room. Hotel

        amenities, room types and amenities are all listed in detail. No information was

        given about accessibility in the hotel other than the statement “Accessible

        bathroom”.

14.     The third arty booking site located at https://www.expedia.com/Atlanta-Hotels-

        Budgetel-Inn-Suites.h1107351.Hotel-Information: had no option to book an

        accessible room. Hotel amenities, room types and amenities are all listed in detail.

        No information was given about accessibility in the hotel other than the statement

        “Accessible bathroom”.

15.     The third party booking site located at https://www.agoda.com/budgetel-inn-

        suites-atlanta-midtown/hotel/atlanta-ga-us.html?cid=-218: had no option to book

        an accessible room. Hotel amenities, room types and amenities are all listed in

        detail. No information was given about accessibility in the hotel.
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16.     In the near future, Plaintiff intends to revisit Defendant's websites and/or online

        reservations system in order to test it for compliance with 28 C.F.R. Section

        36.302(e) and/or to utilize the website to reserve a guest room and otherwise avail

        herself of the goods, services, features, facilities, benefits, advantages, and

        accommodations of the Property.

17.     Plaintiff is continuously aware that the subject websites remains non-

        compliant and that it would be a futile gesture to revisit the website as long as

        those violations exist unless she is willing to suffer additional discrimination.

18.     The violations present at Defendant's websites infringe Plaintiff's right to travel

        free of discrimination and deprive her of the information required to make

        meaningful choices for travel. Plaintiff has suffered, and continues to suffer,

        frustration and humiliation as the result of the discriminatory conditions present at

        Defendant's websites. By continuing to operate a website with discriminatory

        conditions, Defendant contributes to Plaintiff's sense of isolation and segregation

        and deprives Plaintiff the full and equal enjoyment of the goods, services,

        facilities, privileges and/or accommodations available to the general public. By

        encountering the discriminatory conditions at Defendant's websites, and knowing

        that it would be a futile gesture to return to the websites unless she is willing to

        endure additional discrimination, Plaintiff is deprived of the same advantages,

        privileges, goods, services and benefits readily available to the general public. By

        maintaining websites with violations, Defendant deprives Plaintiff the equality of

        opportunity offered to the general public.

19.     Plaintiff has suffered and will continue to suffer direct and indirect injury as a

        result of the Defendant’s discrimination until the Defendant is compelled to

        modify the websites to comply with the requirements of the ADA and to
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        continually monitor and ensure that the subject website remains in compliance.

20.     Plaintiff has a realistic, credible, existing and continuing threat of discrimination

        from the Defendant’s non-compliance with the ADA with respect to the websites.

        Plaintiff has reasonable grounds to believe that she will continue to be subjected

        to discrimination in violation of the ADA by the Defendant.

21.     The Defendant has discriminated against the Plaintiff by denying her access to,

        and full and equal enjoyment of, the goods, services, facilities, privileges,

        advantages and/or accommodations of the subject websites.

22.     The Plaintiff and all others similarly situated will continue to suffer such

        discrimination, injury and damage without the immediate relief provided by the

        ADA as requested herein.

23.     Defendant has discriminated against the Plaintiff by denying her access to full and

        equal enjoyment of the goods, services, facilities, privileges, advantages and/or

        accommodations of its place of public accommodation or commercial facility in

        violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e). Furthermore, the

        Defendant continues to discriminate against the Plaintiff, and all those similarly

        situated by failing to make reasonable modifications in policies, practices or

        procedures, when such modifications are necessary to afford all offered goods,

        services, facilities, privileges, advantages or accommodations to individuals with

        disabilities; and by failing to take such efforts that may be necessary to ensure

        that no individual with a disability is excluded, denied services, segregated or

        otherwise treated differently than other individuals because of the absence of

        auxiliary aids and services.

24.     Plaintiff is without adequate remedy at law and is suffering irreparable harm.

        Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s
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             fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. §

             12205 and 28 CFR 36.505.

25.          Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

             Plaintiff Injunctive Relief, including an order to require the Defendant to alter the

             subject websites to make them readily accessible and useable to the Plaintiff and

             all other persons with disabilities as defined by the ADA and 28 C.F.R. Section

             36.302(e); or by closing the website until such time as the Defendant cures its

             violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:

      a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

             commencement of the subject lawsuit is in violation of Title III of the Americans

             with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

      b.     Injunctive relief against the Defendant including an order to revise the websites

             to comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor

             and maintain the websites to ensure that it remains in compliance with said

             requirement.

      c.     An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

             § 12205.

      d.     Such other relief as the Court deems just and proper, and/or is allowable under

             Title III of the Americans with Disabilities Act.


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